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1                                         UNITED STATES DISTRICT COURT

2                                             DISTRICT OF NEVADA

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      LAS VEGAS SKYDIVING ADVENTURES
6     LLC, a Nevada limited-liability company,
7                            Plaintiff,                   2:18-cv-02342-APG-VCF
                                                          ORDER
8     v.
      GROUPON, INC., a Delaware corporation,
9
                             Defendant.
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              Before the Court is Gibson Lexbury LLP’s motion to withdraw as attorneys of record (ECF No.
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     142).
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              Counsel asserts that Plaintiff has discharged Gibson Lexbury LLP and has retained new counsel,
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     Duane Frizell. Id. Mr. Frizell entered an appearance in Plaintiff’s Ninth Circuit appeal. Mr. Frizell has
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     not appeared in this case.
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              28 U.S.C. § 1654 provides that “[i]n all courts of the United States the parties may plead and
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     conduct their own cases personally.” See C.E. Pope Equity Trust v. United States, 818 F.2d 696, 697 (9th
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     Cir. 1987). Although individuals may represent themselves pursuant to this statute, a corporation is not
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     permitted to appear in Federal Court unless it is represented by counsel. U.S. v. High Country
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     Broadcasting Co., Inc., 3 F.3d 1244, 1245 (9th Cir. 1993). An individual also does not have the right to
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     appear on behalf of anyone other than himself. Pope, 818 F.2d at 697.
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              Las Vegas Skydiving Adventures LLC may not proceed pro se, as corporations must be
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     represented by counsel.
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              Accordingly,
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1            IT IS HEREBY ORDERED that an in-person hearing on Gibson Lexbury LLP’s motion to

2    withdraw as attorneys of record (ECF No. 142), is scheduled for 11:00 AM, October 18, 2022, Courtroom

3    3D, Third Floor at the United States District Court, Lloyd D. George Federal Courthouse, 333 Las Vegas

4    Blvd. S., Las Vegas, Nevada 89101.

5            Duane Frizell, Esq. is invited to attend the scheduled hearing at 11:00 AM, October 18, 2022, or

6    alternatively file a substitution of counsel in this matter. Jodi Donetta Lowry, Esq. must mail a copy of

7    this order to Mr. Frizell.

8            IT IS FURTHER ORDERED that a director, officer, or managing agent of Las Vegas Skydiving

9    Adventures LLC, must attend the scheduled hearing at 11:00 AM, October 18, 2022.

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11           DATED this 21st day of September 2022.
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12                                                               CAM FERENBACH
                                                                 UNITED STATES MAGISTRATE JUDGE
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